Case 1:18-cv-24100-MGC Document 61-7 Entered on FLSD Docket 03/24/2020 Page 1 of 4


                                                 EXHIBIT 7
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 18-CV-24100-COOKE/GOODMAN

   DIGNA VINAS,

          Plaintiff,

   vs.

   THE INDEPENDENT ORDER OF
   FORESTERS,

         Defendant.
   ______________________________/

                            PLAINTIFF’S INITIAL DISCLOSURES

          COME NOW, Plaintiff, Digna Vinas (“Vinas”), and pursuant to Rule 26(a)(1) of the

   Federal Rules of Civil, hereby states as follows:

          1.      Pursuant to Rule 26(a)(1)(A)(i) of the Federal Rules of Civil Procedure, each
   party is required to provide the name, and if known, the address and telephone number of
   each individual likely to have discoverable information, along with the subjects of that
   information, that the disclosing party may use to support its claims or defenses, unless the
   use would be solely for impeachment.

             a. Corporate Representative of The Independent Order of Foresters
                c/o Lazaro, McDowell Hetherington LLP
                2101 N.W. Corporate Blvd. Suite 316
                Boca Raton, FL 33431

                 This/these witness/witnesses is/are believed to have knowledge of both
                 underwriting and claim issues relevant to the Defendant’s denial of coverage in
                 the present case as well as the damages sustained.

             b. Corporate Representative of The Independent Order of Foresters
                c/o Lazaro, McDowell Hetherington LLP
                2101 N.W. Corporate Blvd. Suite 316
                Boca Raton, FL 33431

                 This witness is a Corporate Representative of The Independent Order of
                 Foresters (“Foresters”). He/she is expected to have knowledge of the insurance
                 claim and reasons for the denial of insurance coverage.
Case 1:18-cv-24100-MGC Document 61-7 Entered on FLSD Docket 03/24/2020 Page 2 of 4




            c. Lisa Buckland
               The Independent Order of Foresters
               c/o Lazaro, McDowell Hetherington LLP
               2101 N.W. Corporate Blvd. Suite 316
               Boca Raton, FL 33431

                This witness has knowledge of the insurance claim and reasons for the denial of
                insurance coverage.

            d. Digna Vinas
               c/o Kramer, Green, Zuckerman, Greene & Buchsbaum, P.A.
               4000 Hollywood Boulevard, Suite 485
               Hollywood, FL 33021

                Plaintiff will have knowledge regarding the facts and circumstances surrounding
                Foresters’ denial of insurance coverage and damages incurred.

            e. Kenneth Hershman, M.D.
               11479 S.W. 40th Street
               Miami FL 33165

                This witness will have knowledge regarding Rigoberto Vinas’ health as his
                treating physician.

            f. All witnesses listed on Defendant’s Rule 26(a) Initial Disclosures.

            g. It is anticipated that additional discovery and revelation or clarification of the
               present issues in dispute will result in the need to name additional witnesses.


          2.     Pursuant to Rule 26(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, each
   party is required to provide a copy of, or a description by category and location of all
   documents, electronically stored information, and tangible things that the disclosing party
   has in its possession, custody or control and may use to support its claims or defenses,
   unless the use would be solely for impeachment.

             a. Foresters’ entire claim file to be produced by Foresters.
             b. Foresters‘ entire underwriting file to be produced by Foresters.
             c. Foresters’ SMART Universal Life Insurance Policy/Certificate No. 83556627
                which was filed with the Court as an Exhibit to the Complaint.
             d. April 5, 2017 Denial letter in Foresters’ possession.
             e. Rigoberto Vinas’ Application for Individual Life Insurance Form in Foresters’
                possession.

                                                2
Case 1:18-cv-24100-MGC Document 61-7 Entered on FLSD Docket 03/24/2020 Page 3 of 4




             f. Rigoberto Vinas’ Diabetes Questionnaire in Foresters’ possession.
                Rigoberto Vinas’ medical records from Dr. Hershman located at Dr.
                Hershman’s office, 11479 S.W. 40th Street, Miami FL 33165.
             g. Forester’s underwriting guidelines applicable to this claim to be produced by
                 Defendant.
             h. Forester’s claim manual applicable to this claim to be produced by Defendant.
             i. All documents that may have inadvertently not been listed in these Initial
                 Disclosures but are being produced in correspondence with these Initial
                 Disclosures.
             j. All documents listed on Defendant’s Rule 26(a) Initial Disclosures.
             k. Digna Vinas anticipates identifying various other documents, data
                 compilations, and tangible things relevant to disputed facts through discovery.
                 Plaintiff reserves the right to supplement these disclosures as discovery
                 progresses and additional documents, individuals and/or corporate
                 representatives are revealed.
             l. It is anticipated that additional discovery and revelation or clarification of the
                 present issues in dispute will result in the need to obtain additional documents
                 from other sources including but not limited to Defendant, Foresters.

          3.     Pursuant to Rule 26(a)(1)(A)(iii) of the Federal Rules of Civil Procedure,
   each party is required to provide a computation of each category of damages claimed by
   the disclosing party – who must also make available for inspection and copying as under
   Rule 34 the documents or other evidentiary material, unless privileged or protected from
   disclosure, on which each computation is based, including materials bearing on the nature
   and extent of injuries suffered.

          Plaintiff’s damages can be computed by adding the amount of the life insurance policy
   proceeds to the amount of attorney’s fees due under Florida Statute §627.428 to the amount
   of prejudgment interest that has accumulated and will accumulate onto both the insurance
   proceeds and attorney’s fees.

          4.    Pursuant to Rule 26(a)(1)(A)(iv) of the Federal Rules of Civil Procedure,
   each party is to provide for inspection and copying as under Rule 34, any insurance
   agreement under which an insurance business may be liable to satisfy all or part of a
   possible judgment in the action or to indemnify or reimburse for payments made to satisfy
   the judgment.



                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 18, 2019, the undersigned certifies that the

   foregoing document is being served this date to Kristina B. Pett, Daniel R. Lazaro,
                                                 3
Case 1:18-cv-24100-MGC Document 61-7 Entered on FLSD Docket 03/24/2020 Page 4 of 4




   McDowell Hetherington LLP, 2101 N.W. Corporate Blvd. Suite 316, Boca Raton, FL

   33431, kristina.pett@mhllp.com, daniel.lazaro@mhllp.com.


                                                 KRAMER, GREEN, ZUCKERMAN,
                                                 GREENE & BUCHSBAUM, P.A.
                                                 Co-Counsel for Plaintiff
                                                 4000 Hollywood Blvd., Suite 485-S
                                                 Hollywood, FL 33021
                                                 (954) 966-2112 – phone
                                                 (954) 981-1605 - fax


                                                 By:          /s/ Craig M. Greene
                                                       Craig M. Greene, Esq.
                                                       Fla. Bar No. 618421
                                                       cgreene@kramergreen.com

                                                 and

                                                 Adrian Neiman Arkin, Esq.
                                                 MINTZ, TRUPPMAN, P.A.
                                                 Co-Counsel for Plaintiff
                                                 1700 Sans Souci Boulevard
                                                 North Miami, FL 33181
                                                 (305) 893-5506 – phone
                                                 adrian@mintztruppman.com




                                             4
